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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-1-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW and
      2. KIMBERLEY ANN TEW,
         a/ka Kimberley Vertanen,

        Defendants.


      RESPONSE TO DEFENDANT MICHAEL TEW’S OBJECTIONS TO THE
                PRESENTENCE INVESTIGATION REPORT


        The government respectfully requests that the Court overrule each of

 defendant Michael Tew’s objections (ECF No. 571) and conclude that the Presentence

 Investigation Report (PSR) correctly calculates his Offense Level at 30, with a

 corresponding Guideline range of 97-121 months.

 I.     Michael Tew has not accepted responsibility and, instead, willfully
        deflects it in defiance of the jury’s verdict and the overwhelming
        evidence

        The defendant bears the burden of proving that he is entitled to the credit for

 acceptance of responsibility. United States v. Rutter, 897 F.2d 1558, 1560 (10th Cir.

 1990). He has failed to meet this burden.

        Michael Tew has not “admitted his guilt,” ECF No. 571 at 3, and no “plea


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 agreement was reached” Id. at 4. If either were true, then there would have been no

 need for a jury to spend almost two weeks listening to his attorneys cross-examine

 witnesses or to spend hours contemplating a jury slip that listed his name over forty

 times. Far from admitting guilt, Michael Tew used his closing argument to deny

 responsibility and, instead, to cast blame on everyone but himself. He argued, in

 essence, that he was the passive intermediary of a scheme foisted upon him by

 Jonathan Yioulos and his wife. ECF No. 488-1 (summarizing his closing argument).

 The jury rejected these arguments and so should the Court.

       The defendant’s objection accurately recites the procedural history regarding

 the attorneys who represented him in 2020 and 2021. But these facts are untethered

 from any arguments or claims about their legal significance. He cites no cases and

 does not explain how or why any legal principles applied to those facts should cause

 the court to sustain his objection. Firing or otherwise failing to cooperate with

 numerous attorneys is not grounds for concluding that he accepted responsibility.

 And to the extent the defendant is arguing for credit because of his proffers, the Court

 should take judicial notice of the fact that he made a conscious and vigorous effort to

 exclude the statements he made in those meetings and to instead potentially tell the

 jury a different story. See Def. Mot. in Limine, ECF No. 370.

       The defendant’s “tangential” objections are themselves evidence of his

 continued efforts to minimize and avoid, rather than accept, responsibility.

       •   He used his closing argument to deflect blame onto Yioulos and change the


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           subject from his own fraud to Yioulos’s. ECF No. 488-1. The jury rejected
           that argument when it convicted him, but he continues it now by arguing
           that he did not recruit Yioulos. ECF No. 571 at 1-2. Yioulos’s testimony,
           voluminous text messages, and the millions of dollars that went into the
           defendant’s accounts prove beyond a reasonable doubt that he was an
           organizer of the fraud who used various manipulations to convince Yioulos
           to send him money. See, e.g., ECF No. 341-1 (Log Entry #341) (“I’m trying
           being nice I’m trying being mean I’m trying to threaten I’m trying to help
           him I’m trying to play ball I’m trying every method and he is not
           responding.”); id. (Log Entry 347 (“I have to threaten hi” [sic]); id. (all
           entries referencing Indictment ¶ 25); id. (Log Entry # 317) (referencing
           football tickets); id. (Log Entry #131) (offering to pay off student loans and
           mortgage). The defendant’s continued effort to trivialize his role in turning
           Yioulos into a conspirator, despite the jury verdict and overwhelming
           evidence, is sufficient ground to overrule his objection. Cf. United States v.
           Deppe, 509 F.3d 54, 61 (1st Cir. 2007) (affirming district court’s denial of
           departure for acceptance where defendant downplayed his role in fraud
           scheme and attempted to shift blame to co-defendant).

       •   He seeks to downplay his involvement in the relevant conduct regarding
           fraudulent use of his corporate credit card. ECF No. 571 at 2. But Abby
           Schwartz testified under oath at trial that retail stores provided video
           showing both Michael and Kimberley Tew personally using the corporate
           credit card to fraudulently buy gift cards. Trial Tr. Feb. 9, 2024 at 36 (“King
           Sooper [sic] sent Jonathan a video of the card at a check out being used by
           two individuals . . . . It was Michael and Kimberley Tew.”). She told the
           government the same thing during interviews, which were summarized and
           provided to the defendant but conveniently ignored in his filing. See Report
           of Interview, INV_00009545. If there is evidence showing “conclusively”
           that it was solely Kimberley who used the credit card, the defendant does
           not cite to that evidence or the relevant portion of the transcript. His denials
           on this point are abdications of responsibility that similarly justify
           overruling his objection. U.S.S.G. § 3E1.1 app. note 1(a) (“A defendant who
           falsely denies or frivolously contests relevant conduct that the court
           determines to be true has acted in a manner inconsistent with acceptance
           of responsibility).

       •   He minimizes his responsibility by arguing that he didn’t threaten Yioulos
           to induce him to pay invoices. But evidence at trial showed that he created
           the C.R. email account and then, posing as C.R., implicitly threatened to
           tell Yioulos’s supervisors about the fraud unless Yioulos paid the 5530 JD


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           invoices. See Testimony on Jonathan Yioulos; GX 520 (showing that C.R.
           email address used Michael Tew’s phone number for recovery); GX 658
           (featuring the defendant posing as C.R. and asking to talk to “CFO” or “legal
           team” about unpaid invoice). This false denial in the face of a unanimous
           jury verdict to the contrary is, again, a sufficient reason to overrule his
           objection.

       •   Far from taking responsibility, Michael Tew’s immediate reaction was to
           flee from it:




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 Weeks after this text, the court concluded that the defendant was not a continuing

 flight risk. But that doesn’t mean the defendant never intended to flee and thereby

 avoid accepting responsibility for his crimes.

       The Court should overrule the defendant’s objection and conclude that he is

 not entitled to a two point reduction for accepting responsibility.

 II.   The defendant organized and supervised efforts to make the conspiracy a success

       The Court should overrule this objection for all of the reasons supported by all

 of the evidence and all of the cases chronicled on pages 38-40 of the government’s

 sentencing statement, docketed at ECF No. 458. The defendant does not deny, object,

 or otherwise grapple with any of the exhibits, testimony, or court cases summarized

 on those pages. Instead, he again seeks to deflect blame towards his co-conspirator

 and his wife by focusing on their roles in the conspiracy.

       As the government explained in its memorandum, there can be more than one

 leader or organizer: multiple people in the conspiracy can be holding each other “by

 the balls.” The defendant does not deny that he supervised and organized the

 participation of L.W., that he planned and organized the offense by using PM and

 GFL as sham vendors, that he created and used several sham email accounts, that

 he created and opened several accounts at different institutions to receive scheme

 proceeds in a way that would avoid bank scrutiny, that he gave Yioulos instructions

 on where, when, and how to send payments, and that he controlled millions in scheme

 proceeds. All of these things make him a supervisor and organizer.


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        To the extent he denies organizing or supervising Yioulos’s participation in the

 scheme, all of the evidence marshaled above in the first bullet point on pages 2-3 —

 and the jury’s unanimous verdict rejecting his closing argument that Yioulos and

 Kimberley were to blame — proved the opposite, beyond a reasonable doubt.

        The court should conclude that a defendant who opened multiple bank

 accounts to take custody of millions in scheme proceeds obtained using fraudulent

 vendors he maintained and created, all while supervising the actions of others like

 L.W. and Yioulos, was an organizer of the scheme. The objection should be overruled.

 III.   This was not a victimless crime

        Jonathan Yioulos testified, consistent with contemporaneous text messages,

 that the defendant’s crime put the victim company’s viability at risk and jeopardized

 the paychecks that its employees relied upon.       ECF No. 458 at 7-8 (describing

 testimony and referencing James log exhibits). Recognizing that whether this

 amounts to “substantial financial hardship” is a close call — the guideline

 commentary appears to require actual bankruptcy and not just its risk — the

 government elected not to pursue this enhancement.

        But the Court should take notice of the defendant’s cynical attempt to portray

 a $5 million fraud scheme as some kind of victimless crime. ECF No. 571 at 6. It is

 anti-social and irresponsible to suggest that the defendant should receive lower

 punishment because a victim had insurance or because the risks the defendant

 foisted upon the victim and its employees did not ultimately come to pass. He has not


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 accepted responsibility for his crime, continues to belittle its significance, and far

 from expressing “remorse,” appears to have nothing but callous contempt for the

 non-financial but still considerable emotional and psychological turmoil he inflicted

 on the people who trusted him. All of these counsel in favor of the sentence

 recommended by the Probation Office.

                                   CONCLUSION

       For all these reasons, the government respectfully requests that the Court

 overrule each of defendant Michael Tew’s objections and calculate his Offense Level

 at 30, with a corresponding Guideline range of 97-121 months’ imprisonment.1

                                        Respectfully submitted,

                                        MATTHEW T. KIRSCH
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       1  The government argued in its sentencing submission that the defendant
 should also receive a two-point adjustment for betraying a position of trust. ECF No.
 458 at 40-41. But the government understands and respects the Probation Office’s
 independent analysis of this enhancement and, while it disagrees, has decided not to
 file formal objections to paragraphs 87 and 88 of the PSR.

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 Certification of Type-Volume Limitation

        Judge Domenico’s Practice Standard III(A)(1) does not impose a type-volume
 limitation on responses to objections to the PSR.

                                                      /s Bryan Fields
                                                      Bryan David Fields

 Statement of Speedy Trial Impact

        Pursuant to Judge Domenico’s Practice Standard III(C), the government notes
 that this motion will not affect the speedy trial clock in this case because trial has
 already occurred within the Speedy Trial Act deadline.




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                          CERTIFICATE OF SERVICE

       I certify that on this 24th day of October, 2024, I electronically filed the
   foregoing with the Clerk of the Court using the CM/ECF system which will send
   notification of such filing to all counsel of record in this case


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